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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA



     STATE OF OKLAHOMA, et al.,           )
                                          )
                      Plaintiffs,         )
                                          )
     v.                                   )         Case No. 05-cv-329-GKF-SH
                                          )
     TYSON FOODS, INC., et al.,           )
                                          )
                      Defendants.         )


                      DEFENDANTS’ MOTION TO DISMISS
                          AND BRIEF IN SUPPORT


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                         REQUEST FOR ORAL ARGUMENT

         Defendants request oral argument on this motion. As set forth herein, defend-

   ants’ motion raises novel and important questions regarding constitutional mootness,

   prudential mootness, and due process, and defendants respectfully submit that oral

   argument would assist the Court in resolving those issues.




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                                    INTRODUCTION

          When the Court heard closing arguments in this matter in February 2010,

    President Obama was barely a year into office, Solicitor General Kagan was fielding

    questions from Justices Stevens and Scalia, the economy floundered but Deepwater

    Horizon was afloat, and fewer than one in four Americans owned a smartphone.

          The ensuing thirteen years brought significant change, locally as well as glob-

    ally. As relevant here, the human population in the Illinois River Watershed (IRW)

    more than doubled, farming and land-management practices evolved, communities

    on both sides of the border poured hundreds of millions of dollars into improving

    wastewater treatment, and water quality demonstrably improved. The IRW of today

    is not the IRW of 2010. Nor was the law static. Since 2010, federal and state courts

    have issued path-marking decisions addressing nuisance, trespass, causation, and

    federal common law.

          Yet for all that time, despite claims of exigent environmental harm, the Plain-

    tiff, the State of Oklahoma, has sat idly by. Six Oklahoma Attorneys General have

    held that office, but despite bearing the burden of proof, not one of them asked this

    Court to rule or sought relief from the Tenth Circuit. Instead, for thirteen years,

    Oklahoma continued to issue nutrient-management plans to farmers and ranchers,

    instructing them to abide by these plans to avoid polluting the waters of the IRW.

          When the Court ruled that Oklahoma was “entitled to injunctive relief,” Find-

    ings and Conclusions at 202 (ECF No. 2979), it was constrained to base that ruling

    on a record thirteen years old, and in significant part much older. Such a ruling is
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    unprecedented. Defendants are unaware of any court, in any jurisdiction, federal or

    state, ever awarding injunctive relief on a record so stale. See, e.g., Webb v. Mo. Pac.

    R. Co., 98 F.3d 1067, 1068 (8th Cir. 1996) (abuse of discretion to grant injunction

    based on five-year-old record).

          This case should go no further. The Court’s jurisdiction extends only to live

    cases and controversies. When no effectual relief can be entered on the record before

    the Court, the dispute is moot and must be dismissed. In 2010, the State entreated

    the Court to enter sweeping injunctive relief. But injunctive relief requires evidence

    of current and ongoing harm or impending injury, and the record before the Court

    says nothing about whether injunctive relief is needed or justified in 2023 and be-

    yond. Likewise, the Court has already properly dismissed any damages remedy, and

    it has made no findings to support, nor does the record contain evidence to support,

    any award of penalties. In all events, ordering any remedy on this record, following

    so lengthy and prejudicial a delay, would violate Defendants’ due process rights. Be-

    cause no effectual relief can be entered on this record, Oklahoma’s remaining claims

    must be dismissed as moot. See Fed. R. Civ. P. 12(b)(1).

                                      BACKGROUND

          This case began nearly two decades ago. In 2005, Oklahoma sued a group of

    poultry producers for allegedly polluting the waters of the IRW. Although the State

    sought an array of remedies, only two groups of claims survived motions practice:

    claims for injunctive relief and claims for civil penalties. F&C at 1, 180. Those claims

    went to trial in September 2009. See ECF No. 2644. In January 2010, the trial ended,

    and the record closed.


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          After trial, both sides moved for judgment in their favor. Defendants argued

    that neither the law nor the record evidence supported any of Oklahoma’s claims. For

    its part, Oklahoma sought an order requiring “remediation of the IRW, at Defendants’

    expense.” Oklahoma’s Proposed F&C at 356 (ECF No. 2873). According to the State,

    the “exact nature” of that remediation was uncertain and needed to be “determined

    following an investigation … funded by Defendants.” Id. Among Oklahoma’s sugges-

    tions for “further investigation” and possible implementation were costly and inva-

    sive steps including “buffer strips,” “bank stabilization,” “excavation,” “alum applica-

    tion,” and “constructed wetlands.” Id. at 274. The State also sought “civil penalties

    for each defendant’s violation of 27A Okla. Stat. § 2-6-105(A).” F&C at 202.

          In January 2023, the Court issued its findings of fact and conclusions of law.

    Relevant here, the Court found that “defendants’ conduct … constitutes a public nui-

    sance” under Okla. Stat. tit. 27A, § 2-6-105, and that “the actual and ongoing injury

    to the waters of the IRW constitutes irreparable harm.” F&C at 212–13. The Court

    did not make the defendant-specific, violation-specific findings necessary to support

    civil penalties, and it awarded none. Instead, the Court concluded simply that “the

    State is entitled to injunctive relief for each defendant’s violations of 27A Okla. Stat.

    § 2-6-105.” Id. at 202. Rather than order relief immediately, the Court directed the

    parties to “meet and attempt to reach an agreement with regard to remedies to be

    imposed.” Id. at 213. If the parties were “unable to reach an accord,” the Court said

    that it would “enter judgment.” Id. Consistent with the Court’s directive, the parties

    participated in mediation on October 12, 2023 but were unable to resolve the dispute.




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                                    LEGAL STANDARD

          “Because mootness is an issue of subject matter jurisdiction, it can be raised at

    any stage of the proceedings.” Ind v. Colo. Dep’t of Corr., 801 F.3d 1209, 1213 (10th

    Cir. 2015); see also Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006) (Rule 12(b)(1)

    motion may be raised “at any stage in the litigation, even after trial”). Courts “take

    a claim-by-claim approach to mootness and must decide whether a case is moot as to

    each form of relief sought.” Smith v. Becerra, 44 F.4th 1238, 1247 (10th Cir. 2022)

    (cleaned up) (quoting Prison Legal News v. Fed. Bureau of Prisons, 944 F.3d 868, 880

    (10th Cir. 2019)). “An injunctive relief claim becomes moot when the ‘plaintiff’s con-

    tinued susceptibility to injury’ is no longer ‘reasonably certain’ or is based on ‘specu-

    lation and conjecture.’” Id. (quoting Jordan v. Sosa, 654 F.3d 1012, 1024 (10th Cir.

    2011)). A court “must dismiss the case” when it “cannot fashion any relief that would

    have a meaningful impact” on the plaintiff. United States v. Shorter, 27 F.4th 572,

    575 (7th Cir. 2022).

                                         ARGUMENT

          Article III empowers federal courts to resolve live and ripe cases and contro-

    versies. Implicit in that authority is an obligation to make decisions timely and on

    current facts. Cf. Webb, 98 F.3d at 1068 (injunction entered five years after trial was

    abuse of discretion because record was stale and could not support prospective relief).

    Here, thirteen years elapsed between trial and decision—with not a word from Okla-

    homa—a situation for which there simply is no supporting precedent.

          Two doctrines require dismissal in these circumstances. First, mootness re-

    quires dismissal. A court lacks jurisdiction when it can no longer grant effectual


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    relief, and here, Oklahoma’s claims for injunctive relief are barred by the passage of

    time. “Courts recognize two kinds of mootness: constitutional mootness and pruden-

    tial mootness.” Rio Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096,

    1121 (10th Cir. 2010). Constitutional mootness “act[s] as a jurisdictional bar against

    even entertaining a case,” whereas prudential mootness permits a court to “withhold

    relief [that it has] the authority to grant.” Winzler v. Toyota Motor Sales U.S.A., Inc.,

    681 F.3d 1208, 1209 (10th Cir. 2012) (Gorsuch, J.). This case is moot in both respects.

    As a matter of Article III subject-matter jurisdiction, this Court can no longer grant

    Oklahoma any effectual relief. And as a prudential matter, this Court should exercise

    its remedial discretion to deny injunctive relief. Id. at 1210. Second, proceeding on

    this record, after all this time, would violate defendants’ due-process rights. Either

    way, the case should be dismissed.

           A.     Oklahoma’s claims for injunctive relief are constitutionally
                  moot on this record.

           1.     “Article III, § 2, of the Constitution extends the ‘judicial Power’ of the

    United States only to ‘Cases’ and ‘Controversies.’” Steel Co. v. Citizens for a Better

    Env’t, 523 U.S. 83, 102 (1998). That limits federal courts’ jurisdiction to justiciable

    disputes: cases in which the plaintiff has suffered “actual injury redressable by the

    court.” Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 542 (1986) (citation

    omitted). Two related doctrines—standing and mootness—“aim to ensure federal

    courts stay within Article III’s bounds.” Rio Grande Found. v. Oliver, 57 F.4th 1147,

    1159 (10th Cir. 2023). “Standing does so at a case’s inception, asking ‘whether a

    plaintiff’s action qualifies as a case or controversy when it is filed.’” Est. of Schultz v.



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    Brown, 846 F. App’x 689, 693 (10th Cir. 2021) (quoting Brown v. Buhman, 822 F.3d

    1151, 1163 (10th Cir. 2016)). And mootness “kicks in once the case gets going, ensur-

    ing that a live dispute exists” throughout the litigation. Id.

          “Mootness usually results when a plaintiff has standing at the beginning of a

    case, but, due to intervening events, loses one of the elements of standing during lit-

    igation ….” WildEarth Guardians v. Pub. Serv. Co. of Colo., 690 F.3d 1174, 1182

    (10th Cir. 2012). As relevant here, if it “becomes impossible at any point for a court

    to grant effective relief,” then the plaintiff’s alleged injury is “no longer redressable.”

    United States v. Price, 44 F.4th 1288, 1293 (10th Cir. 2022) (citation omitted). In that

    case, the court “ha[s] no subject-matter jurisdiction,” Rio Grande Silvery Minnow, 601

    F.3d at 1109, and the claim for relief “must be dismissed,” Smith, 44 F.4th at 1247;

    see also Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992) (“[A]

    federal court has no authority ‘to give opinions upon moot questions or abstract prop-

    ositions, or to declare principles or rules of law which cannot affect the matter in issue

    in the case before it.’” (quoting Mills v. Green, 159 U.S. 651, 653 (1895))).

          2.     This case is constitutionally moot because the Court can no longer grant

    any effectual relief. The Court’s findings and conclusions rest upon a record compiled

    in 2005–2009. The time when any injunction could have been entered on a record

    that old has long passed; decades-old evidence cannot support an injunction today.

    Oklahoma’s claims thus lack a remedy and must be dismissed.

          The “sole function” of injunctive relief is to “forestall future violations.” United

    States v. Or. State Med. Soc’y, 343 U.S. 326, 333 (1952); see also Hecht Co. v. Bowles,




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    321 U.S. 321, 329 (1944) (injunctions are “designed to deter, not to punish”). It follows

    that courts may not grant injunctive relief based solely on past conduct. See McClen-

    don v. City of Albuquerque, 100 F.3d 863, 867 (10th Cir. 1996) (“[P]ast exposure to

    alleged illegal conduct does not establish a present live controversy if unaccompanied

    by any continuing present effects.”); cf. Donahue v. Kan. Bd. of Educ., 827 F. App’x

    846, 850 (10th Cir. 2020) (“[P]ast harm cannot establish irreparable harm ….”). In-

    stead, injunctive relief is proper only if “the record shows ‘a real threat of future vio-

    lation or a contemporary violation of a nature likely to continue or recur.’” Webb, 98

    F.3d at 1068 (alterations omitted) (quoting Or. State, 343 U.S. at 333).

          A stale record cannot support injunctive relief. After all, if an injunction aims

    to “undo existing conditions,” then a record that no longer “illuminates or explains

    the present” cannot warrant that sort of remedy. Or. State, 343 U.S. at 333. The

    Eighth Circuit’s decision in Webb well illustrates the point. The plaintiffs there al-

    leged that Missouri Pacific Railroad discriminated against black employees. 98 F.3d

    at 1068. Following trial and a lengthy delay, the district court “found there was class-

    wide discrimination and ruled in favor of the employees.” Id. Then—five years after

    the trial record closed—the court ordered injunctive relief. The Eighth Circuit va-

    cated, holding that “the district court abused its discretion by granting an injunction

    on a stale record.” Id. at 1069. As the panel explained, “[e]ven [if] the district court’s

    findings of widespread discrimination [were] correct, Missouri Pacific’s past trans-

    gressions w[ould] not support an injunction that was not issued until five years after

    the close of all the evidence.” Id.; see also T-Mobile S., LLC v. City of Roswell, No.




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    1:10-cv-1464-AT, 2016 WL 11745937, at *21 (N.D. Ga. Oct. 7, 2016) (explaining that

    injunction was “inappropriate” because “the latest evidence” was “at least five to six

    years old”).

          That stands to reason. When a properly entered injunction “remain[s] in force

    for many years,” the “passage of time frequently brings about changed circumstances

    … that warrant reexamination of the original judgment.” Horne v. Flores, 557 U.S.

    433, 448 (2009). In such cases, “a court abuses its discretion ‘when it refuses to modify

    an injunction … in light of such changes.’” Id. at 447 (quoting Agostini v. Felton, 521

    U.S. 203, 215 (1997)); see also Jackson v. Los Lunas Cmty. Program, 880 F.3d 1176,

    1201–02, 1206–07 (10th Cir. 2018) (injunctive relief must remedy current and ongo-

    ing harms, and changed circumstances may warrant revising or dissolving an injunc-

    tion). By the same token, when years pass between the close of evidence and the

    entry of judgment, changed circumstances can make a request for injunctive relief

    stale before it even issues.

          3.       There may be cases where reasonable minds could debate whether a rec-

    ord has become stale—but this is not one of them. After thirteen years, the record no

    longer “illuminates or explains the present,” making it impossible for this Court to

    redress Oklahoma’s claims for injunctive relief. Or. State, 343 U.S. at 333; see also

    Davis v. Colerain Twp., 51 F.4th 164, 171 (6th Cir. 2022) (plaintiff “may not seek a

    forward-looking remedy … without evidence that the harmful conduct will reoccur”

    (citing City of Los Angeles v. Lyons, 461 U.S. 95, 105–10 (1983))). As a result, those

    claims must be dismissed as moot.




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          When this Court issued its findings and conclusions, the freshest evidence was

    from 2010—and much of the record dated from the 1990s and early 2000s. The Court

    gave “considerable weight,” for example, to government reports from 1992, 1999,

    2006, and 2008, several of which analyzed data that were already years old when the

    reports issued. F&C at 104–05. So too, the Court placed “substantial weight” on

    observations from 2007, id. at 158, and expert analyses based on samples collected

    between 2005 and 2007, id. at 136–40, 144. It also relied on runoff data from 2000–

    2004, id. at 75, along with soil tests from 1999, 2000, and 2003. Id. at 101.

          Whatever that evidence showed about the IRW in 2010—and there was much

    dispute about the evidence the State offered during trial—it does not speak to condi-

    tions in 2023. But see Webb, 98 F.3d at 1068 (record must show “a real threat of

    future violation or a contemporary violation of a nature likely to continue or recur”

    (alterations omitted) (quoting Oregon State, 343 U.S. at 333)).

          Consider just a few developments since the record closed. At trial in 2009,

    Oklahoma’s experts testified that phosphorus levels in the watershed were “increas-

    ing.” F&C at 65, 134. Yet by 2015, the Tulsa World reported “recent decreases in

    phosphorus readings.” 1 And the years that followed brought a “steady drop in phos-

    phorus levels,” 2 thanks in part to “local communities’ $300 million investment in




    1 Randy Krehbiel, The Illinois River Is Cleaner, But The Hard Work Has Just Begun,

    Tulsa World (Oct. 20, 2015), http://bit.ly/3K6Okra (emphasis added).
    2 Doug Thompson, Arkansas, Oklahoma Officials To Host Public Meeting On Illinois

    River, Ark. Democrat Gazette (Jan. 14, 2023), http://bit.ly/3ZEBxlG.


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    [wastewater treatment plants].” 3 Small wonder that an Oklahoma conservation offi-

    cial reported in 2020 that there had been “measurable improvements” in both “bacte-

    ria and phosphorus levels in the river.” 4 Likewise, land uses have changed. The

    Arkansas portion of the IRW was among the fastest-growing metropolitan areas in

    the United States between 2010 and 2019, 5 and farms on both sides of the border

    have given way to subdivisions, apartment complexes, and retail spaces. In fact, it is

    likely some farms that allegedly contributed phosphorus in the IRW in 2010 no longer

    raise chickens for any defendant, or even support farming operations at all.

            At the same time, while state-mandated poultry-litter “management plans”

    were new to Oklahoma in 1998 and to Arkansas in 2007, poultry farmers have now

    been following the plans for almost twenty-five years and fifteen years, respectively.

    F&C at 35, 171. These plans—which “set[] forth the time, location, and amount of

    poultry litter that may be applied” to each parcel of land—have now ensured that, for

    well over a decade, the State has consented to—and even controlled—all poultry-litter

    applications. Id. at 4–6, 24–25; see Okla. Stat. tit. 2, § 10-9.19a(1) (2010); Ark. Code

    Ann. §§ 15-20-1106(f), 15-20-1108. Despite knowing of this lawsuit, Oklahoma has

    made no effort legislatively or administratively to alter its litter-management




    3 See EPA, Cooperative Efforts Build Trust While Reducing Pollution 6 (Apr. 2020),

    http://bit.ly/3MnqcmU.
    4 Id.

    5 See Jeff Della Rosa, Northwest Arkansas Continues to Lead State Growth, 13th

    Fastest-Growing U.S. Metro over Past Decade, Talk Business & Politics (Mar. 26,
    2020), https://bit.ly/3Qm9XIl.


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    scheme, to impose lower phosphorous-application limits, or otherwise to effectuate

    the outcomes requested of this Court so long ago.

          While these changed circumstances underscore the staleness problem, this rec-

    ord is legally stale regardless of any evidence of intervening change. See Hu v.

    Holder, 579 F.3d 155, 159 (2d Cir. 2009) (“A four-year-old memory of the witness’s

    demeanor is not entitled to the same deference.”); Webb, 98 F.3d at 1068 (five-year-

    old record was stale); Sturgis Motorcycle Rally, Inc. v. Mortimer, 2:14-CV-00175-

    WCO, 2014 WL 12479644, at *7–9 (N.D. Ga. Dec. 23, 2014) (denying injunctive relief

    based on two-year old evidence and noting that “stale evidence does not carry the

    same force”); FTC v. Merch. Servs. Direct, LLC, No. 13-CV-0279-TOR, 2013 WL

    4094394, at *3 (E.D. Wash. Aug. 13, 2013) (two-year-old record was stale).

          Even if the record could have supported injunctive relief at the close of trial, it

    is too stale to “illuminate[] or explain[]” whether such relief is warranted today. Or.

    State, 343 U.S. at 333; see Webb, 98 F.3d at 1068–69. As a result, the Court can no

    longer grant Oklahoma effectual relief as to its injunctive claims—so any ruling on

    the merits of those claims “would be nothing more than an advisory opinion.” Smith,

    44 F.4th at 1249. It follows that Oklahoma’s claims for injunctive relief here are

    constitutionally moot and must be dismissed. 6



    6 Nor is jurisdiction rescued by any other remedy. The Court previously and properly
    dismissed the State’s claims for damages, and it has made no findings to support an
    award of civil penalties under Okla. Stat. tit. 27A § 2-3-504(A)(2). That is not sur-
    prising, given the Court’s conclusion that defendants are jointly and severally liable
    for the aggregate impact of growers’ farming activities in the IRW. Civil penalties
    are not unapportioned damages but rather are imposed on specific parties for specific
    misconduct.     Here, Plaintiff nowhere offered the defendant-specific evidence


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          B.     At a minimum, Oklahoma’s claims for injunctive relief are pru-
                 dentially moot.

          Even when a case squeaks by under Article III, prudential mootness may bar

    relief where the moving party fails to show that “relief is needed.” Winzler, 681 F.3d

    at 1210 (quoting United States v. W.T. Grant Co. 345 U.S. 629, 633 (1953)). “[P]ru-

    dential mootness arises out of the court’s general discretion in formulating prospec-

    tive equitable remedies ….” Bldg. & Constr. Dep’t v. Rockwell Int’l Corp., 7 F.3d 1487,

    1492 (10th Cir. 1993). Like other such remedies, an injunction “does not issue as of

    course.” Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987). Instead,

    claims for injunctive relief “appeal to the ‘remedial discretion’ of the courts”—inher-

    ent in which is the “power to deny relief altogether.” Winzler, 681 F.3d at 1210 (quot-

    ing S. Utah Wilderness All. v. Smith, 110 F.3d 724, 727 (10th Cir. 1997)). Prudential

    mootness provides that when “the anticipated benefits of a remedial decree no longer

    justify the trouble of deciding the case on the merits,” the proper course is “not deci-

    sion but dismissal.” Id.; cf. Hickman v. Subaru of Am., Inc., No. 1:21-CV-02100-NLH-

    AMD, 2022 WL 11021043, at *5 (D.N.J. Oct. 19, 2022) (“[A]n attack based on the

    prudential mootness doctrine … would fall under Rule 12(b)(1) ….”).

          Here, Oklahoma’s claims for injunctive relief are prudentially moot because

    the record has become too stale to support an injunction. As explained above, see

    supra § A.2, injunctive relief cannot issue today on a record compiled thirteen years

    ago based on events occurring long before that. And again: Oklahoma—as plaintiff—


    necessary to impose penalties, and the record is generally bereft of the sort of evidence
    required to be considered, including evidence of violations and good-faith efforts by
    the relevant defendant to comply with the applicable requirements.


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    bears the burden of proving that it is entitled to an equitable remedy. But the State’s

    own conduct belies its plea for equitable relief: after claiming that time was of the

    essence, Oklahoma sat silent for over a decade and did nothing to hasten a judicial

    decision it asserted was urgently needed. This Court should not award extraordinary

    relief under those circumstances. Nor is it even clear what an injunction would look

    like in the face of changed ownership, overhauled farming practices, improved water

    quality, farms replaced by subdivisions and shopping centers, and continued, expan-

    sive state regulation. The passage of time has thus created practical problems that

    would plague crafting relief on this record as it would in any similar circumstances.

           At bottom, whether or not this case “still qualif[ies] as an Article III ‘case or

    controversy,’” Oklahoma’s inaction has allowed the case to “reach the point where

    prolonging the litigation any longer would itself be inequitable.” Winzler, 681 F.3d

    at 1210. 7

           C.    Granting injunctive relief on this record would violate due pro-
                 cess.

           This action is independently moot because granting relief on this record would

    violate due process. The Fifth and Fourteenth Amendments require courts to exercise

    the judicial power “within the limits of those fundamental principles of liberty and

    justice which lie at the base of all our civil and political institutions.” Hurtado v.


    7 Should the Court dismiss Oklahoma’s injunctive claims as prudentially moot, it

    need not address whether they are constitutionally moot. See Sinochem Int’l Co. v.
    Malaysia Int’l Shipping Corp., 549 U.S. 422, 431 (2007) (“[A] federal court has leeway
    ‘to choose among threshold grounds for denying audience to a case on the merits.’”
    (citing Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 585 (1999))); cf. Winzler, 681
    F.3d at 1215 (dismissing on prudential-mootness grounds and declining to address
    Article III standing).


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    California, 110 U.S. 516, 535 (1884). Among those principles is that “justice delayed

    is justice denied.” Johnson v. Rogers, 917 F.2d 1283, 1285 (10th Cir. 1990). Accord-

    ingly, appellate courts routinely issue mandamus to address delays ranging from a

    few months to a few years. See McClellan v. Young, 421 F.2d 690, 691 (6th Cir. 1970)

    (granting mandamus after five-month delay); In re Hood, 135 F. App’x 709, 711 (5th

    Cir. 2005) (granting mandamus after seven-month delay); Johnson, 917 F.2d at 1285

    (fourteen-month delay “for no reason other than docket congestion” was “impermissi-

    ble”); Jones v. Shell, 572 F.2d 1278, 1280 (8th Cir. 1978) (“Busy court dockets cannot

    justify a 14-month delay ….”); In re United States ex rel. Drummond, 886 F.3d 448,

    450 (5th Cir. 2018) (granting mandamus after four-year delay).

          The Tenth Circuit has recognized that “excessive delay … can amount to a

    deprivation of due process.” DeLancy v. Caldwell, 741 F.2d 1246, 1247 (10th Cir.

    1984). In the criminal context, courts consider four factors to determine whether a

    due-process violation has occurred: (1) the length of the delay, (2) the reason for the

    delay, (3) the defendant’s assertion of rights, and (4) prejudice to the defendant. See

    Harris v. Champion, 15 F.3d 1538, 1558–59 (10th Cir. 1994) (citing Barker v. Wingo,

    407 U.S. 514, 532 (1972)). While the “demands of due process” are “less strict” in civil

    litigation than in a criminal case, United States v. Zalazar-Torres, 25 F. App’x 707,

    708 (10th Cir. 2001), due process still requires much in civil proceedings. Cf. Morris-

    sey v. Brewer, 408 U.S. 471, 481 (1972) (“[D]ue process is flexible and calls for such

    procedural protections as the particular situation demands.”). Applying those same

    four factors here favors defendants.




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          First, a thirteen-year delay is extraordinary and unprecedented. See Harris,

    15 F.3d at 1559–60 (noting that the passage of an “inordinate amount of time triggers

    due process concern[s],” and “presum[ing] that a two-year delay in adjudicating [a

    habeas] appeal is inordinate” (citation omitted)). Second, there is no “constitutionally

    sufficient justification” for such a delay. Id. at 1562; see also Johnson, 917 F.2d at

    1285 (“docket congestion” was “insufficient to justify” fourteen-month delay). Third,

    defendants did not “affirmatively s[eek] or cause[] delay in the adjudication” of this

    case. Harris, 15 F.3d at 1563. Fourth, defendants would suffer several forms of prej-

    udice if the Court entered judgment for Oklahoma on a stale and outdated record.

          To begin with, the defendants would be prejudiced because the Court’s legal

    conclusions do not reflect current law. A federal court must apply the law in effect at

    the time it renders a decision. Cf. Huddleston v. Dwyer, 322 U.S. 232, 236 (1944) (“[A]

    judgment of a federal court ruled by state law … must be reversed on appellate review

    if in the meantime the state courts have disapproved of their former rulings and

    adopted different ones.”). Yet here, the Court’s findings and conclusions cite no case

    law after 2011, see F&C at 194 (citing Am. Elec. Power Co. v. Connecticut, 564 U.S.

    410 (2011)), and the opinion omits intervening and material changes in state and

    federal law.

          For example, the Oklahoma Supreme Court recently ruled that the State can-

    not hold a party liable for nuisance if that party “did not control the instrumentality

    … alleged to constitute the nuisance at the time the nuisance occurred.” State ex rel.

    Hunter v. Johnson & Johnson, 2021 OK 54, ¶ 30, 499 P.3d 719, 729. And in Vulcan




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    Constr. Materials, LLC v. City of Tishomingo, 526 P.3d 1171, 1175–76 (Okla. Civ.

    App. 2022), the court confirmed that “[n]othing which is done or maintained under

    the express authority of a statute”—including site-specific water-management and

    conservation plans—“can be deemed a nuisance” (citation omitted). The Tenth Cir-

    cuit, for its part, ruled recently that “the Clean Water Act displaced the federal com-

    mon law [of nuisance] for water-based transboundary pollution.”            Bd. of Cnty.

    Comm’rs of Boulder Cnty. v. Suncor Energy (U.S.A.) Inc., 25 F.4th 1238, 1259 (10th

    Cir. 2022), cert. denied, 143 S. Ct. 1795 (2023).

          It is no answer that defendants could immediately appeal any injunction and

    raise these intervening authorities. See 28 U.S.C. § 1292(a)(1). Equity aims to “pro-

    tect all rights and do justice to all concerned,” Providence Rubber Co. v. Goodyear, 76

    U.S. (9 Wall.) 805, 807 (1869); see also Corbet v. Johnson, 6 F. Cas. 524, 525 (C.C.D.

    Va. 1805) (No. 3218) (Marshall, J.) (“A court of equity … delights to do complete jus-

    tice, and not by halves ….”). The right to appeal does not cure the inequity of issuing

    an injunction as though this were still 2010. Parties must be allowed to try current

    facts to current law, and long-delayed appellate review is no substitute.

          Because Oklahoma alleges violations that stretch back to 1993, see Oklahoma’s

    Proposed F&C at 331 (ECF No. 2873), the passage of thirteen years would also make

    it all the harder to defend against those allegations at a potential retrial. See Harris,

    15 F.3d at 1563 (calling “impairment of the grounds for appeal or the grounds for

    defense in the event of a retrial” the “most serious form of prejudice”). As the Tenth

    Circuit has recognized, “excessive delay presumptively compromises the reliability of




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    a trial,” and the “likelihood of injury ‘increases with the length of delay.’” Id. at 1564

    (quoting Doggett v. United, 505 U.S. 647, 655–56 (1992)). Here, the thirteen-year

    post-trial delay violates due process many times over.

          At the same time, defendants would also be prejudiced in their ability to pros-

    ecute their third-party complaints against the myriad other parties who contribute

    phosphorous into the IRW. Defendants’ third-party complaints have been held in

    abeyance for nearly two decades. When those cases move forward, they will proceed

    under the latest law and facts. Yet the Court proposes to hold defendants liable and

    impose a remedy based on law and facts from 2010. In other words: third parties

    would benefit from every intervening legal and factual change, whereas defendants

    would be penalized as though none of those developments had occurred. That would

    be inconsistent with fundamental principles of liberty and justice.

                                        CONCLUSION

          For all the foregoing reasons, Defendants respectfully request that the Court

    dismiss Oklahoma’s remaining claims for relief as moot.




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    October 26, 2023                        Respectfully submitted,



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                             CERTIFICATE OF SERVICE

          I certify that on October 26, 2023, I caused this document to be filed with the

    Clerk of Court through CM/ECF, which will serve copies on all registered counsel.



                                          /s/ Gordon D. Todd
                                          Gordon D. Todd
